                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                     )
 CONNIE BRAUN CASEY, individually,                )
 ANDREW SAWYER, individually, and                 )
 JANE DOE 2,                                      )
                                                  )
                Plaintiffs,                       )
                                                  )
 v.                                               )        Case No. 4:16-cv-02163
                                                  )
 PEOPLE FOR THE ETHICAL                           )
 TREATMENT OF ANIMALS, INC. and                   )
 ANGELA SCOTT a/k/a ANGELA G.                     )
 CAGNASSO, individually,                          )
                                                  )
                Defendants.                       )

                          DECLARATION OF JARED GOODMAN

       Pursuant to 28 U.S.C. § 1746, I, Jared Goodman, declare the following to be true and

correct to the best of my knowledge and belief:

       1.      I am counsel for Counterclaim Plaintiffs People for the Ethical Treatment of

Animals, Inc. and Angela Scott (together, “Plaintiffs”). I make this declaration based upon my

personal knowledge and upon information available to me as Plaintiffs’ counsel.

       2.      On July 11, 2018, following my discussion regarding potential settlement with

Daniel Batten, then-counsel for Counterclaim Defendant Connie Braun Casey (“Casey”), I sent

propose settlement terms to Batten and his co-counsel, Brian Klar.

       3.      On July 20, I received an e-mail from Kristen Bonn, secretary to Klar, under Klar’s

signature, rejecting certain settlement terms proposed by Plaintiffs. The e-mail did not contain a

counterproposal acceptable to Plaintiffs.
       4.      On July 23, I sent a response to the July 20 e-mail, informing Klar and Batten that

their July 20 response to Plaintiffs’ proposal was inadequate. I received no response.

       5.      On August 1, I again contacted Klar and Batten with a proposal for settling the case.

I also informed them that Casey’s failure to participate in discovery had been preventing a timely

settlement. I did not receive any response to this email, either, despite my efforts following up via

both email and voicemail.

       6.      On September 4, following the withdrawal of Klar and Batten, I sent Plaintiffs’

proposed settlement terms directly to Casey. I have received no response to that correspondence.

       7.      On September 7, Plaintiffs served a subpoena upon Lisa Harned, Casey’s daughter

and former named secretary of Missouri Primate Foundation. Ms. Harned’s neighbor informed the

process server that Ms. Harned could be found at Casey’s residence, where Ms. Harned reportedly

has been living with and caring for “her ailing mother,” Casey.

       I declare under the penalty of perjury that the foregoing is true and correct.



September 9, 2018

Los Angeles, CA                                       /s/ Jared Goodman
                                                      Jared Goodman




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